                                                                                                        FILED IN CHAMBERS
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                                                                        9      ATLANTA
                                                                                                       Jun 17 2022
                                                                                                 Date: _________________________

                                                                                                 KEVIN P. WEIMER , Clerk
                                      United States District Court
                                                                                                     Sonya Nuckolls
                                      NORTHERN DISTRICT OF GEORGIA                               By: ____________________________
                                                                                                           Deputy Clerk

  UNITED STATES OF AMERICA
  v.                                                                    CRIMINAL COMPLAINT
  JELANI KAZMENDE, WILEY MARTIN, and                                    Case Number: 1:22-MJ-548-RGV
  ROBERT LOUIS JEFFORDS, JR.


I, the undersigned complainant being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about June 2, 2022 through on or about June 16, 2022 in Cobb County, in the
Northern District of Georgia, defendants did possess a firearm as a prohibited person, possess and
conspire to possess a machinegun, engage in and conspire to engage in the business of dealing in firearms
without a license, and possess an unregistered firearm,



in violation of Title 18, United States Code, Sections 922(g)(1), 922(o), 922(a)(1)(A), and 371 and Title 26,
United States Code, Section 5861(d).
I further state that I am a Special Agent of the Federal Bureau of Investigation and that this complaint is
based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT


Continued on the attached sheet and made a part hereof.         Yes




                                                          Signature of Complainant
                                                         Ashley Joseph

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to me by telephone pursuant to Federal
Rule of Criminal Procedure 4.1.

 June 17, 2022                                             at    Atlanta, Georgia
 Date                                                            City and State



 RUSSELL G. VINEYARD

 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                              Signature of Judicial Officer
 AUSA Theodore S. Hertzberg / 2022R00473 /
 theodore.hertzberg@usdoj.gov
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I, Ashley Joseph, depose and say under penalty of perjury:

                                       Background

   1. I have been a Special Agent with the Federal Bureau of Investigation (“FBI”) since

December 5, 2021, when I entered on duty at the FBI Academy in Quantico, Virginia.

While stationed at Quantico, I received extensive training in conducting federal

investigations, including training in interviewing witnesses, conducting surveillance,

and making arrests. I am currently assigned to the FBI Atlanta Field Office and am

responsible for investigating violent crimes including, but not limited to, armed robbery,

homicide, aggravated assault, commercial business robberies, gang-related offenses, and

firearms violations in the Atlanta metro area. I am authorized to investigate violations of

the laws of the United States, and I am a law enforcement officer with authority to execute

arrest and search warrants under the authority of the United States. Prior to being

employed as a Special Agent, I served as a law enforcement officer for the City of

Sarasota, Florida for approximately three-and-a-half years. The facts in this affidavit

come from my personal observations, my training and experience, and information

obtained from other agents and witnesses. This affidavit is intended to show merely that

there is sufficient probable cause for the requested criminal complaint and arrest

warrants and does not set forth all of my knowledge about this matter.

   2. I make this affidavit in support of a criminal complaint against JELANI

KAZMENDE, WILEY MARTIN, and ROBERT LOUIS JEFFORDS, JR., for violations of

Title 18, United States Code, 922(g)(1) (Possession of a Firearm by a Prohibited Person),

922(o) (Possession of a Machinegun), 922(a)(1)(A) (Unlicensed Dealing in Firearms), and


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371 (Conspiracy to Possess a Machinegun, Engage in the Business of Dealing in Firearms

Without a License, and Possession an Unregistered Firearm); and Title 26, United States

Code, Section 5861(d) (Possession of an Unregistered Firearm).

   3. The information set forth in this affidavit is based upon my experience, training,

personal knowledge, observations, and consultations with other law enforcement

personnel and other sources of information related to this investigation. This affidavit

does not include all of the facts known to me regarding this investigation, only those

sufficient to establish probable cause that federal laws have been violated.

                              Statement of Probable Cause

   4. In May 2022, a confidential human source (“CHS”) informed FBI Special Agents

that a black male later identified as Wiley MARTIN was selling machineguns. According

to the CHS, MARTIN advised that he had obtained the weapons from a military veteran

out-of-state.

   5. Agents reviewed MARTIN’s criminal history. Records show that MARTIN has a

2017 felony conviction for Burglary in Muscogee County (Georgia) Superior Court; a 2017

felony conviction for Possession of Cocaine in Cobb County (Georgia) Superior Court;

and a 2021 felony conviction for Cruelty to Children in the First Degree in Cobb County

(Georgia) Superior Court.

   6. On June 1, 2022, MARTIN told the CHS he had six (6) automatic weapons in his

inventory and was willing to sell the firearms for $6,000 total ($1,000 each). MARTIN

agreed to meet the CHS on June 2, 2022 to sell his automatic weapons.




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   7. On June 2, 2022, FBI Agents observed MARTIN meet a man in the parking lot of

the Right Off the Bone restaurant located at 678 Powder Springs Street, Marietta, Georgia

(Right Off the Bone) within the Northern District of Georgia. The man exited a black Ford

Excursion, North Carolina plate number JAH6220, registered to Jelani KAZMENDE. The

man transferred several long brown boxes into MARTIN’s vehicle, a silver Ford Explorer

with Georgia temporary tag number P3415241, registered to Selencia MARTIN at 2402

Cranbrook Circle, Austell, Georgia. Thereafter, MARTIN departed the parking lot. It was

learned later that the Right Off the Bone restaurant is owned by KAZMENDE.

   8. The CHS and two FBI undercover employees (“UCEs”) met MARTIN in the

vicinity of a Neighborhood Walmart store on Austell Road SW, Marietta, Georgia 30008.

MARTIN introduced himself as “Wiley” and showed the UCEs five (5) firearms in boxes.

One of the FBI UCEs asked if the firearms were fully automatic, and MARTIN advised

they were. MARTIN stated the sixth firearm was at his house, and that he could retrieve

it. The FBI UCEs paid MARTIN $5,000 for the five (5) firearms and transferred them into

their vehicle. MARTIN provided the UCEs with a cellular telephone number and advised

he could sell more firearms to the UCE in the future.

   9. Agents observed MARTIN depart the meeting location and drive to a residence at

2402 Cranbrook Circle, Austell, Georgia. MARTIN thereafter exited the residence with a

box and place it inside his vehicle. MARTIN drove back to the meeting location and

showed the FBI UCEs the sixth firearm in a box. An FBI UCE paid MARTIN $1,000 for

the final firearm and took possession of it.




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   10. The FBI UCEs and Special Agents of the Bureau of Alcohol, Tobacco, Firearm and

Explosives (“ATF”) who were present on the scene observed what appeared to be “full-

auto sears” inside the firearms sold by MARTIN immediately following the purchase. An

auto sear converts a semiautomatic firearm to shoot as a fully automatic weapon. As such,

these items and their constituent parts in-and-of-themselves are considered to be

machineguns and are subject to the requirements of the National Firearms Act.

   11. Some of the firearms sold by MARTIN had no traceable serial numbers, or what

appeared to be fabricated numbers etched into the lower receiver of the rifle.

   12. On June 16, 2022, an FBI UCE scheduled a second meet with MARTIN to buy ten

more automatic rifles. At approximately 1:30 p.m. that day, MARTIN contacted the CHS

and conveyed that his (MARTIN’s) firearm source of supply was stuck in traffic and

would be bringing 16 guns.

   13. At approximately 2:09 p.m., Agents conducting surveillance in the vicinity of the

Right Off the Bone observed a silver Ford Explorer pull into Right Off the Bone’s parking

lot. Agents observed MARTIN exit the Ford Explorer and meet with KAZMENDE.

   14. At approximately 3:30 p.m., a white GMC Yukon truck bearing North Carolina

license plate PMW-9702 arrived at Right Off the Bone. A white male wearing a white t-

shirt and red hat exited the GMC Yukon and gave three large brown boxes to

KAZMENDE. The white male was later identified as Robert Louis JEFFORDS, Jr., and a

law enforcement database search revealed that the Yukon was registered to Clinton Thad

JEFFORDS (“Clinton”) at 3213 Hudlow Road, Forest City, NC 28043.




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   15. KAZMENDE placed the three large brown boxes on a bench behind Right Off the

Bone. MARTIN and KAZMENDE then carried the three large brown boxes into Right Off

the Bone.

   16. Agents conducting aerial surveillance relayed the above information to other

agents and local law enforcement officers who were waiting at a staging location on the

ground nearby. Those agents and local law enforcement officers then left the staging

location and traveled to the Right Off the Bone restaurant. When the agents and officers

arrived at the restaurant approximately five minutes later, they surrounded the building

in marked and unmarked law enforcement vehicles with the emergency lights activated.

JEFFORDS, who was outside the building when agents arrived, attempted to walk away

from the scene. Agents detained him. SWAT operators, who announced themselves by

shouting “police” and “FBI,” repeatedly called for the occupants of the restaurant to come

out. After approximately five minutes, KAZMENDE and MARTIN walked out of the

restaurant with their hands raised.      Agents arrested KAZMENDE, MARTIN, and

JEFFORDS.

   17. Pursuant to a warrant issued in Northern District of Georgia Case No. 1:22-MC-

1148-RGV, agents searched the Right Off the Bone restaurant for specific items, including

but not limited to firearms, firearm components, and electronic devices. Agents located

the three large boxes that MARTIN and KAZMENDE had carried into the restaurant

immediately prior to their arrests. Two of those three boxes contained rifles a total of 16

rifles. An ATF agent who examined the rifles did not see any auto sears in the 16 guns.




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   18. Agents searched the Yukon vehicle and recovered an envelope with what

appeared to be handwritten instructions of what JEFFORDS should say if stopped by law

enforcement and asked about the boxes inside the vehicle:




The last section of the note concluded with instructions about collecting money and not

cooperating with law enforcement:

      Jay should have $ when you get there & I want you to hang out down the
      Road & wait he should have you most all the $ to bring home in Just an
      hour or 2 it tell him I sent him the Amount he owes for these plus his
      balance. He has a guy getting 20 as soon as you get there guy is coming
      from New York should be there between 12-2pm if Not there by 2pm call
      Karmen tell her you need to talk to me be careful if something goes bad
      with cops just dont say NOThing they cant do anything

   19. An online search of Rutherford County, North Carolina tax records indicated that

Karmen Elaine Hill JEFFORDS (“Karmen”) and Clinton jointly own property in Forest




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City, North Carolina. An open records search indicated that Karmen is 32 years old, and

that Clinton is 33 years old. Based on Clinton’s age, last name, city of residence, and the

contents of the note reproduced above, I believe that Clinton is JEFFORDS’s son and that

Karmen is Clinton’s wife.

   20. Along the flap of the envelope, was a post-script that read: “P.S. the plastic clips

that are the secret recipe are in the Big Brown envelope in Back of Yukon tell Jay he has

to put them in All of the units cause I don’t like driving them in the guns.” I believe that

“Jay” refers to KAZMENDE (whose first name, Jelani, starts with the letter J) and that

“the plastic clips that are the secret recipe” refers to auto sears.

   21. Agents searched the trunk of the Yukon but did not recover a brown envelope.

   22. On June 17, 2022, I reviewed copies of digital photographs that had been taken on

June 16, 2022 by an agent who was conducting surveillance of the Right Off the Bone

restaurant. One such photograph depicts JEFFORDS walking into the restaurant carrying

what appears to be a large brown or yellow envelope in his left hand:




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   23. When agents executed the aforementioned warrant to search the restaurant, they

were unaware of the contents of the handwritten note recovered from the Yukon and its

reference to a “Big Brown envelope.” JEFFORDS, KAZMENDE, and/or MARTIN could

have concealed the envelope within the restaurant before agents arrived on the scene.

                                       Conclusion

   24. Based on the foregoing, I submit there is probable cause to believe that, on or about

June 2, 2022 and June 16, 2022, in the Northern District of Georgia and elsewhere, JELANI

KAZMENDE, WILEY MARTIN, and ROBERT LOUIS JEFFORDS, JR. violated Title 18,

United States Code, 922(g)(1) (Possession of a Firearm by a Prohibited Person), 922(o)

(Possession of a Machinegun), 922(a)(1)(A) (Unlicensed Dealing in Firearms), and 371

(Conspiracy to Possess a Machinegun, Engage in the Business of Dealing in Firearms

Without a License, and Possession an Unregistered Firearm); and Title 26, United States

Code, Section 5861(d) (Possession of an Unregistered Firearm).




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